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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                   ABILENE DIVISION

UNITED STATES OF AMERICA,
  Plaintiff,

v.                                                         NO.   1:24-CR-007-04-H

EDDIE OCHOA LOMAS,
  Defendant.


             ORDER ACCEPTING REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE
                       CONCERNING   PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Concerning Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

§ 636(b)(1), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and it is

hereby accepted by the Court.   Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court’s scheduling order.

       SO ORDERED.

       Dated August | 4_, 2024.


                                           JAMES
                                                    aise
                                                 WESLEY HENDRIX
                                           UNITED STATES DISTRICT JUDGE
